                                                                                         04/23/2019
                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION



    JOHN DOE,

          Plaintiff,

    v.                                                                6:19CV00023
                                                  Civil Action No.
    WASHINGTON AND LEE
    UNIVERSITY,

          Defendants.


                                        COMPLAINT

         Plaintiff John Doe1 (“John” or “Plaintiff”), by his attorneys, files this complaint against

Defendant Washington and Lee University (“W&L” or “the University”), and alleges as follows:

                                THE NATURE OF THIS ACTION

         1.     John has filed this lawsuit against W&L for unlawful gender discrimination and

retaliation in violation of federal law, breach of implied contract, and negligence resulting from

the University’s grievous mishandling of a false accusation of sexual misconduct brought against

John by a female W&L student (referred to herein as “Jane Roe” or “Jane”) in John’s sophomore

year at W&L. W&L wrongly found John responsible for the alleged misconduct after a flawed

and discriminatory investigation, hearing, and appeal process. W&L sanctioned John with a one-

term suspension effective May 21, 2017, after which he would be eligible to return to W&L.

1        Contemporaneously with the filing of this complaint, John has filed a Motion for Permission to
Proceed Under Pseudonym. As set forth in the Motion, John is entitled to proceed anonymously because
of the highly sensitive nature of the disciplinary proceeding against him that forms the basis for his
Complaint, and the fact that W&L is fully aware of his identity and will not be prejudiced in any way.
John also seeks to maintain the privacy rights of his accuser and other student-witnesses by requesting
permission to identify them anonymously.


                                      1
     Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 1 of 56 Pageid#: 1
       2.        But, by late June 2017, W&L was aware that John was intent on asserting his

rights under Title IX. W&L has retaliated against John in violation of Title IX by denying him

reinstatement.

       3.        In the nearly two years since then, spanning six academic terms, W&L has

refused to accept John back on campus as a student in good standing, even though John fulfilled

all the requirements that the University initially set forth for his reinstatement, including

participating in substance and sexual abuse counseling and providing the University with an

evaluation from his treating psychologist, a Ph.D. trained professional with over 30 years of

experience and practice in the areas of substance abuse and relationship issues.

       4.        Based on multiple weekly sessions with John and several assessment

questionnaires, the psychologist concluded that John posed no danger of sexual or alcohol abuse

(i.e., “he does not present as a sexual predator and poses no danger to the other students,” his

“alcohol consumption is consistent with his peers,” he is aware of “the importance of setting

limits and situations that could be fraught with risk after drinking”), and that John “is able to

comply with the requirements of his re-instatement.”

       5.        John also provided W&L with his own reinstatement essays, as well as letters of

recommendation in support of his reinstatement from the priest who supervised John’s volunteer

activities with a local parish and from his direct supervisor at his former high school where John

organized fund drives for the school’s food pantry and worked with freshmen groups on

volunteer service activities.

       6.        Finally, John provided W&L with information concerning his five-year

employment history with a summer camp, his work with a realty company assisting with rental

property listings, and more recently, his employment with a national department store chain.




                                   2
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 2 of 56 Pageid#: 2
       7.      All to no avail. W&L has denied reinstatement for the past two years,

continually adding new, previously undisclosed “requirements” to justify its denials.

       8.      As a result of W&L’s wrongful conduct in the disciplinary proceeding and the

unconscionably prolonged reinstatement period, John, though innocent of any wrongdoing, has

lost his reputation, his ability to complete his undergraduate degree, his post-graduate

opportunities, and his employment and career prospects.

       9.      The motivation behind W&L’s finding against John and its refusal to reinstate

him after he clearly demonstrated his fitness to return is in plain view. As alleged in detail

below, W&L faced a complaint and investigation by the Department of Education, Office for

Civil Rights (“OCR”), into W&L’s alleged systemic mishandling of sexual assault complaints

brought by female students. The OCR investigation placed the University under intense pressure

to treat male students accused of sexual assault by female students less favorably than their

accusers and to find them responsible.

       10.     In John’s case, he was subjected to less favorable treatment in crucial ways in

every phase of the proceeding.

       11.     Jane Roe’s complaint alleged that, on the night in question, she and John (who

were sophomores and had been friends during their time at W&L) engaged for the first time in

consensual sexual activity, including mutual kissing and touching, and oral sex which she

performed briefly on John. Although the two then engaged in consensual sexual intercourse,

Jane claimed the next day that she had not consented to the intercourse, because she fell asleep

and had no memory of it.




                                   3
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 3 of 56 Pageid#: 3
       12.     She also claimed she would only consent to sexual intercourse with a partner with

whom she wanted a relationship, and John did not fit that criterion. She acknowledged she had

consented to all the sexual activity before intercourse.

       13.     Jane’s claim to have fallen asleep and her alleged lack of memory raised obvious

evidentiary questions about incapacitation: Had she consumed too much alcohol, so that she

lacked capacity to give consent? Or, had she consumed only a moderate amount of alcohol (as

she herself claimed), but because she had also taken her prescribed antidepressant medication,

had that combination caused her to experience a medical condition known as “black out,” during

which she would appear to be normal and functioning to John and others observing her, but as to

which she had no memory? If that were the case, John would have reasonably believed Jane had

consented to the activity.

       14.     But, if neither excess alcohol consumption nor alcohol-and-drug interaction

caused Jane’s memory loss, then Jane’s story that she simply “fell asleep” and had no memory of

the intercourse would not be credible. How could she possibly explain why she did not wake up

from her sleep at the time the intercourse occurred?

       15.     W&L’s lead investigator on the case, Title IX Coordinator Lauren Kozak, and co-

investigator Jason Rodocker, Associate Dean of Students, raised the incapacitation question with

the parties and two witnesses who had personally observed Jane Roe at different times on the

night in question.

       16.     These witnesses told the investigators Jane Roe did not appear drunk,

incapacitated, or unable to function or to know her whereabouts. One of the witnesses, identified

as Witness A in the Investigative Report, had engaged in consensual sexual intercourse with Jane

Roe earlier that same evening. He told the investigators Jane seemed fine. The other witness




                                   4
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 4 of 56 Pageid#: 4
was the driver who took Jane back to her room after her time with Witness A. He told the

investigators Jane appeared sober.

       17.     The investigators found no evidence that Jane had been illicitly drugged at any

time by anyone that evening. Jane herself told the investigators she was not drunk or

incapacitated. John told the investigators that Jane and he discussed having sex, the two agreed

he should get a condom, and Jane was fully aware of and an active participant in the sexual

intercourse.

       18.     Despite this cumulative, independent evidence that Jane was neither drunk nor

otherwise incapacitated, unable to give consent, or incapable of awakening from sleep upon

sexual penetration, a University Counseling Center psychologist, Dr. Janet Boller, met with Jane

Roe approximately 12 days before the hearing in the case. Based solely on that one meeting,

Boller prepared an expert report in which she concluded that Jane Roe exhibited symptoms of

Acute Stress Disorder. The clear implication of the report was that Jane’s Acute Stress Disorder

was the result of the alleged sexual assault.

       19.     The investigators accepted the Boller expert report as “medical evidence” relevant

to Jane’s allegations and sent it to the Hearing Panel for its consideration.

       20.     It was not until the day before the hearing, when the investigators provided John

with a revised hearing packet, that John saw for the first time the Boller expert report. With so

little time before the hearing, John had no meaningful opportunity to object to the expert report,

or to engage his own rebuttal expert for the hearing.

       21.     Upon information and belief, subject to discovery in this matter, Jane Roe had

been referred to Boller by the investigators.




                                   5
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 5 of 56 Pageid#: 5
        22.     The investigators subjected John to a “surprise” expert report – an expert report

by ambush – the effect of which was to bolster Jane’s credibility and counteract the exculpatory

evidence on the issue of incapacitation. By so doing, the investigators violated their obligation

to remain neutral, objective, and fair to both parties. They accepted “medical evidence” on

behalf of one party over the other, and then apparently withheld the evidence from the other

party until the eve of the hearing, when it was too late to do anything about it. Such an action

indicates that the investigators intentionally treated Jane more favorably than John to his severe

detriment.

        23.     As set forth in this complaint, the investigators not only crossed the line from

neutral fact finders into advocates, their advocacy was motivated by gender bias and was fraught

with conflicts of interest.

        24.     Boller was not a neutral, independent expert, and the investigators knew it. As a

therapist in the University Counseling Center, she was employed by W&L, an affiliation which

could influence her to act in her employer’s best interest. Beyond that, Boller was the

University’s designated contact person for the University-sponsored Student Sexual Assault

Survivor Support Group. W&L’s Counseling Center web site states that, “[t]his support group is

open to students who have experienced a sexual assault and are seeking support in their recovery.

Contact Dr. Janet Boller at jboller@wlu.edu for more information.”

        25.     Thus, Boller’s professional duties at W&L included supporting students who

identify themselves as “survivors” of sexual assault, who are overwhelmingly female.

        26.     In contrast to their conduct in accepting evidence favorable to Jane, the

investigators failed to gather potentially exculpatory evidence or seek expert opinion into the

possible “memory black out” effect of Jane’s consumption of alcohol in combination with




                                   6
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 6 of 56 Pageid#: 6
Lexapro – even though Jane professed to have no memory of the evening after a certain point,

but John and other witnesses agreed she did not appear to be intoxicated, incapacitated, or

unaware of her surroundings.

       27.     The investigators also failed to interview other students who had partied with Jane

that evening and who might have provided further corroboration of Jane’s lucidity.

       28.     The three-member Hearing Panel in John’s case relied on gender biased

stereotypes and on factually unsupported conclusions to find John responsible for nonconsensual

sexual penetration.

       29.     The Hearing Panel acknowledged it had no objective or factual basis for believing

Jane’s story that she did not consent to sexual intercourse because she fell asleep and had no

memory of it. Instead, the Panel based its finding of responsibility against John on credibility

determinations that exhibited gender bias.

       30.     For example, the Panel “had trouble” with John’s claim that receiving oral sex

from a friend felt “weird,” but that John would proceed to have sexual intercourse with Jane.

Based on this flimsy, irrelevant quibble with John’s sexual preferences, the Panel discredited

John’s credibility and his version of events.

       31.     By contrast, the Hearing Panel credited Jane’s story that she would not have

consented to sexual intercourse with John because she had a “personal rule” that “she only has

full sexual intercourse with partners if she is interested in a relationship,” and “she has never

been interested in that type of relationship with the Respondent.”

       32.     The Hearing Panel accepted Jane Roe’s subjective, unsubstantiated “personal

rule” testimony as “consistent and credible.” They accepted her testimony on her sexual

preferences at face value as a sign of her “credibility.” Yet, a red flag on Jane’s credibility




                                   7
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 7 of 56 Pageid#: 7
regarding her “personal rule” was in the record before the Hearing Panel. The Panel knew from

the Investigative Report that Jane Roe had engaged in consensual sexual intercourse earlier that

same evening with Witness A.

       33.      Even though Jane had put her sexual history at issue by claiming she would not

have consented to sexual intercourse with John because of her “personal rule” limiting sexual

intercourse, the Hearing Panel did not question Jane about Witness A. Nor did the Panel call

Witness A to question him about whether Jane had expressed to him an interest in having a

relationship.

       34.      Finally, the Hearing Panel’s ultimate finding that Jane “was not capable of

providing consent because she was either asleep or nearly asleep” has no basis in the Policy. The

Policy defines the inability to provide consent as follows: “An individual who is physically

incapacitated from alcohol or other drug consumption (voluntarily or involuntarily) or is asleep,

unconscious, unaware, or otherwise physically helpless is considered unable to give consent.”

       35.      The fact that a person was “nearly asleep” or that a person was “either asleep or

nearly asleep” are not a basis in the Policy for finding that the person was unable to give

consent. The Hearing Panel’s finding is contrary to the plain terms of the Policy.

       36.      Furthermore, the Hearing Panel did not find that Jane Roe was “physically

incapacitated from alcohol or other drug consumption” or that she was “unconscious, unaware,

or otherwise physically helpless.” The testimony of the parties and witnesses established that

Jane had none of these incapacities. Jane herself claimed only that she fell asleep. If that were

truly the case, she would have awakened upon sexual penetration. The Hearing Panel’s

decision did not mention, much less consider, how it was possible for Jane to simply fall asleep,

but to not awaken when John penetrated her.




                                   8
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 8 of 56 Pageid#: 8
        37.     The Appeal Panel’s denial of John’s appeal is equally unsupportable and

inexcusable. The Appeal Panel should have but failed to reverse the Hearing Panel’s finding

based on the Panel’s reliance on a non-existent definition of inability to give consent.

        38.     Because of W&L’s discriminatory actions and omissions during the proceedings,

and its arbitrary and retaliatory conduct during the reinstatement period, John has sustained

damages to his future education and employment prospects.

        39.     John brings this action to obtain relief for violations of Title IX of the Education

Amendments of 1972, breach of implied contract, and negligence.

                            THE PARTIES AND JURISDICTION

        40.     Plaintiff John Doe is, and at all times relevant to this Complaint has been, a

natural person, citizen of the United States, and resident of the state of New Jersey. John was a

student at W&L from Fall 2015 until Spring 2017.

        41.     Defendant W&L is a private liberal arts college located in the city of Lexington,

Virginia, with its principal place of business located in the Commonwealth of Virginia.

        42.     This Court has federal question and diversity jurisdiction pursuant to 28 U.S.C. §

1331 and § 1332 because (i) the federal law claim arises under a statute of the United States,

and (ii) John and W&L are citizens of different states.

        43.     This Court has personal jurisdiction over W&L because it is conducting business

within the Commonwealth of Virginia.

        44.     Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391

because W&L is located in this judicial district and all of the events or omissions giving rise to

the claims occurred in this judicial district.




                                   9
  Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 9 of 56 Pageid#: 9
                                  FACTUAL ALLEGATIONS

  I.   The Standards Under Title IX for Investigating and Adjudicating Allegations of
       Sexual Misconduct

       A.      Title IX and its Implementing Regulations Require a Prompt, Equitable,
               Fair, and Impartial Process for Resolving Sexual Misconduct Complaints

       45.     Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688, states

that “[n]o person in the United States shall, on the basis of sex, be excluded from participation

in, be denied the benefits of, or be subjected to discrimination under any education program or

activity receiving Federal financial assistance.”

       46.     Under U.S. Supreme Court precedent, the meaning of “discrimination” under

Title IX is “differential treatment” or “less favorable treatment,” and “covers a wide range of

intentional unequal treatment.”

       47.     Title IX applies to all public and private educational institutions that receive

federal funds, including colleges and universities. W&L is a recipient of federal funds and,

therefore, is bound by Title IX and its regulations.

       48.     The Department of Education has issued regulations that require colleges and

universities receiving federal funds to establish policies and procedures to address sexual

assault, including student-on-student complaints. See 62 Fed. Reg. 12034. The guiding

principle established by federal regulations is that grievance procedures to resolve such student

complaints must be “prompt and equitable.” 34 C.F.R. § 106.8(b).

       49.     A proceeding that arises from an allegation of dating violence, domestic

violence, sexual assault, or stalking must “[i]nclude a prompt, fair and impartial process from

the initial investigation to the final result.” 34 C.F.R. § 668.46(k)(2)(i).

       50.     A federally-funded educational institution violates Title IX if it retaliates against

a student by taking adverse action against the student in response to the student’s exercise of a


                                   10
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 10 of 56 Pageid#: 10
protected right under Title IX.

        B.     OCR’s 2001 Guidance Instructs Schools That Compliance with Title IX
               Requires an “Adequate, Reliable, and Impartial Investigation” of Sexual
               Misconduct Complaints and “Due Process to Both Parties”

        51.    In 2001, the Education Department’s Office for Civil Rights (“OCR”) issued

guidance in a document entitled “Revised Sexual Harassment Guidance: Harassment of

Students by School Employees, Other Students, or Third Parties” (66 Fed. Reg. 5512, Jan. 19,

2001, http://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf). The 2001 Guidance

identified “a number of elements in evaluating whether a school’s grievance procedures are

prompt and equitable,” including whether the procedures provide for:

              “Notice to students . . . of the [school’s] procedure”;

              “Adequate, reliable, and impartial investigation of complaints, including the
               opportunity to present witnesses and other evidence”;

              “Designated and reasonably prompt timeframes for the major stages of the
               complaint process.”

(Id. at 20).

        52.    OCR’s 2001 Guidance further provides that, “[a]ccording due process to both

parties involved, will lead to sound and supportable decisions.” (Id. at 22) (emphasis added).

        53.    Complementing Title IX, the Clery Act, as amended in 2013, requires that school

disciplinary procedures for alleged sexual misconduct must “provide a prompt, fair, and

impartial investigation and resolution.” 20 U.S.C. § 1092(f)(8)(B)(iv)(I)(aa).

        54.    Regulations implementing the Clery Act provide that campus Title IX

proceedings must be “[c]onducted by officials who do not have a conflict of interest or bias for

or against the accuser or the accused,” and must give “timely and equal access to the accuser, the




                                   11
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 11 of 56 Pageid#: 11
accused, and appropriate officials to any information that will be used during informal or formal

disciplinary meetings and hearings.” 34 C.F.R. § 668.46(k).

          C.    OCR’s 2011 Dear Colleague Letter and 2014 Questions and Answers
                Pressure Colleges and Universities to Protect and Favor Female
                Complainants Alleging Sexual Misconduct

          55.   Starting in 2011, the federal government, including OCR, began to take

aggressive steps to combat what it viewed as an epidemic of sexual assault on the nation’s

college campuses.

          56.   On April 4, 2011, without public notice and comment, OCR issued a “significant

guidance document” commonly referred to as the 2011 Dear Colleague Letter. (See “2011 Dear

Colleague Letter,” Apr. 4, 2011, http://www.2ed.gov/about/offices/list/ocr/letters/colleagues-

201104.pdf).)

          57.   The 2011 Dear Colleague Letter reaffirmed OCR’s 2001 Guidance and identified

certain procedures “that are critical to achieve compliance with Title IX,” including that schools

must ensure “[a]dequate, reliable, and impartial investigation of complaints,” and that both

parties “must have an equal opportunity to present relevant witnesses and other evidence.” (Id. at

9, 11).

          58.   The 2011 Dear Colleague Letter, however, instructed that schools “must use a

preponderance of the evidence standard (i.e., it is more likely than not that sexual harassment or

violence occurred),” and not the “clear and convincing standard (i.e., it is highly probable or

reasonably certain that the sexual harassment or violence occurred.)” (Id. at 11).

          59.   Given the fact that campus disciplinary proceedings (including W&L’s

proceedings) lack key procedural protections provided in court litigation (e.g., discovery, the

right to active representation by counsel, rules of evidence, and independent judges and juries),

the preponderance standard does not adequately protect accused students’ rights.


                                   12
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 12 of 56 Pageid#: 12
       60.     The 2011 Dear Colleague Letter contained an explicit funding threat to colleges

and universities: “When a recipient does not come into compliance voluntarily, OCR may initiate

proceedings to withdraw Federal funding by the Department or refer the case to the U.S.

Department of Justice for litigation.” (Id. at 16).

       61.     This portion of the 2011 Dear Colleague Letter has been described as the “first

warning shot” that OCR intended to punish any school that failed to handle sexual assault

proceedings as OCR wanted. (See NPR, “How Sexual Assaults Came to Command New

Attention,” Aug. 13, 2014, http://www.npr.org.2014/08/12/339822696/how-campus-sexual-

assaults-came-to-command-new-attention).

       62.     The 2011 Dear Colleague Letter focused on protection of women, claiming that

“about 1 in 5 women are victims of completed or attempted sexual assault while in college,” and

that “the majority of campus sexual assaults occur when women are incapacitated, primarily by

alcohol.” (2011 Dear Colleague Letter at 2 & n.3).

       63.     The press release announcing the 2011 Dear Colleague Letter repeated the “1 in

5” statistic and described the “new steps” that OCR was undertaking “to help our nation’s

schools, universities and colleges end the cycle of sexual violence on campus.”

       64.     The overriding purpose of the 2011 Dear Colleague Letter was “to make it easier

for victims of sexual assault to make and prove their claims and for the schools to adopt punitive

measures in response,” and OCR “demand[ed] that universities do so or face a loss of federal

funding.” Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 572 (D. Mass. 2016).

       65.     In January 2014, the White House put further pressure on colleges and

universities to prevent and police sexual violence on their campuses by creating a task force of

senior administration officials to coordinate federal enforcement efforts. The task force made




                                   13
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 13 of 56 Pageid#: 13
clear that its priority was to protect women’s rights over those of men because women were by

far the majority of victims of sexual assault and men were the perpetrators of those assaults.

        66.     The task force’s first report, dated April 2014, focused on protection of women,

starting with the repeated claim that “[o]ne in five women is sexually assaulted in college.” The

task force pressed colleges and universities to provide “[t]rauma-informed training” for their

officials, stating that “when survivors are treated with care and wisdom, they start trusting the

system, and the strength of their accounts can better hold offenders accountable.” (Not Alone:

The First Report of the White House Task Force to Protect Students From Sexual Assault,

https://www.justice.gov/ovw/page/file/905942/download (emphasis added)).

        67.     In April 2014, OCR issued further guidance in the form of Questions and Answers

on Title IX and Sexual Violence (the “2014 Questions and Answers”). (See

https://www2.ed.gov/about/offices/list/ocr/.../qa-201404-title-ix.pdf).

        68.     The 2014 Questions and Answers strongly implied that allowing an accused

student to cross-examine his accuser could create a “hostile environment” and put a college or

university in violation of Title IX. (Id. at 31).

        69.     Since cases involving alleged sexual misconduct on college campuses

overwhelmingly arise from a woman accusing a man, measures that are put in place to protect

alleged victims and punish alleged perpetrators necessarily intend a harsher treatment of men.

        70.     Ultimately, the Justice Department funded a “Start by Believing” campaign under

which college and university investigators were trained to investigate cases from an initial

presumption of guilt and to write reports “that successfully support the prosecution of sexual

assault cases.” (End Violence Against Women International, Effective Report Writing: Using

the Language of Non-Consensual Sex, at 5,




                                   14
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 14 of 56 Pageid#: 14
https://www.evawintl.org/library/DocumentLibraryHandler.ashx?id=43; see also Campus Action

Kit, Start by Believing, https://www.startbybelieving.org/wp-content/uploads/2018/08/Campus-

Action-Kit.pdf.

       71.     On May 1, 2014, as part of its aggressive enforcement, OCR published a list of 55

higher education institutions nationwide that were then under investigation for possible Title IX

violations. (https://www/ed.gov/news/press-releases/us-department-education-releases-list-

higher-education-institutions-open-title -ix-sexual-violence-investigations).

       72.     According to the Chronicle of Higher Education, that number eventually grew to

over 500 – and as alleged below, included Washington and Lee. (Title IX, Tracking Sexual

Assault Allegations, https://projects.chronicle.com/titleix/.)

       73.     The majority of OCR’s investigations and findings have involved alleged

violations of the rights of complaining students, who are overwhelmingly female.

       74.     Numerous rights organizations have spoken out against the legal and financial

pressure exerted by OCR to force colleges and universities to adopt inequitable procedures that

favored the female complainants and that made it much more likely the accused male students

would be found responsible. (See, e.g., prominent Harvard and University of Pennsylvania Law

School faculty members asserting that OCR’s new rules violate the due process rights of the

accused; Foundation for Individual Freedom in Higher Education (FIRE); and Families

Advocating for Campus Equality (FACE).)

       D.      In September 2017, OCR Withdraws the 2011 Dear Colleague Letter and
               2014 Questions and Answers and Reaffirms Title IX’s Implementing
               Regulations and 2001 Guidance

       75.     On September 22, 2017, the Department of Education withdrew the 2011 Dear

Colleague Letter and 2014 Questions and Answers and put in place OCR interim guidance to

redress the lack of “fundamental fairness” that those earlier statements of policy and guidance


                                   15
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 15 of 56 Pageid#: 15
had fostered, explaining that “many schools have established procedures for resolving allegations

that ‘lack the most basic elements of fairness and due process, are overwhelmingly stacked

against the accused, and are in no way required by Title IX law or regulation.’” (See September

22, 2017 Dear Colleague Letter, https://www2.ed.gov/about/offices/list/ocr/letters/colleague-

title-ix-201709.pdf, at 1).

        76.     The interim guidance reaffirmed the 2001 Guidance requiring colleges and

universities to adopt grievance procedures that provide for “a prompt and equitable resolution of

complaints of sexual discrimination, including sexual misconduct.” (See September 2017 Q&A

on Campus Sexual Misconduct, https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-

201709.pdf, at 3).

        77.     The interim guidance confirmed that, “[i]n every investigation conducted under

the school’s grievance procedures, the burden is on the school – not on the parties – to gather

sufficient evidence to reach a fair, impartial determination as to whether sexual misconduct has

occurred,” and that “[a]ny right or opportunities that a school makes available to one party

during the investigation should be made available to the other party on equal terms.” (Id. at 4).

        78.     The interim guidance cautioned that schools must avoid discriminatory practices

against accused students (who are overwhelmingly male) that had become commonplace at

colleges and universities nationwide after the issuance of the 2011 Dear Colleague Letter – i.e.,

schools (i) must not “restrict[] the ability of either party to discuss the investigation (e.g., through

‘gag orders’),” (ii) must not use “training materials or investigative techniques and approaches”

or “[d]ecision-making techniques or approaches” that “apply sex stereotypes or generalizations,”

(iii) must “avoid conflicts of interest and biases for or against any party” by investigators or




                                   16
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 16 of 56 Pageid#: 16
adjudicators, and (iv) must “prevent institutional interests from interfering with the impartiality

of the adjudication.” (Id. at 4-5).

       79.      “An equitable investigation of a Title IX complaint requires a trained investigator

to analyze and document the available evidence to support reliable decisions, objectively

evaluate the credibility of parties and witnesses, synthesize all available evidence – including

both inculpatory and exculpatory evidence – and take into account the unique and complex

circumstances of each case.” (Id. at 4).

       80.      On November 16, 2018, the Department of Education issued a proposed new

regulation for Title IX sexual misconduct proceedings. (See

https://www2.ed.gov/about/offices/list/ocr/docs/title-ix-nprm.pdf). The Department published

the proposed regulation in the Federal Register on November 29, 2018, followed by a 63-day

comment period.

       81.      Key provisions of the proposed regulation require colleges and universities to

adhere to the following procedures:

       -     “Apply basic due process protections for students, including a presumption of
             innocence throughout the grievance process; written notice of allegations and an
             equal opportunity to review all evidence collected; and the right to cross-examination,
             subject to ‘rape shield’ protections.”
       -     “Hold a live hearing where cross-examination would be conducted through the
             parties’ advisors.”
       -     Allow continued use of the preponderance of evidence standard only if the school
             “uses that standard for conduct code violations that do not involve sexual harassment
             but carry the same maximum disciplinary action.”

       82.      Over 100,000 comments to the proposed regulations have been filed with a

common theme that the Department’s efforts to restore fair processes in campus disciplinary

proceedings were motivated by bias against women and disproportionately impact women, since

the overwhelming majority of complainants are female.


                                   17
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 17 of 56 Pageid#: 17
       -

II.    OCR’s Broad Investigation Into W&L’s Handling of Female Complaints of Sexual
       Misconduct and the 2014 Lawsuit Against W&L

       83.     On February 18, 2015, OCR notified W&L President Ken Ruscio that OCR had

opened an investigation of W&L in response to a Title IX complaint filed by a W&L female

student, who alleged that the University mishandled her report of sexual assault in 2014.

       84.     With the commencement of that investigation, W&L joined the published list of

more than 100 colleges and universities facing federal investigations into allegations that they

had mishandled sexual misconduct complaints, overwhelmingly brought by female students,

with the concomitant possible loss of federal funding.

       85.     President Ruscio announced that the University had “pledged our full cooperation

with OCR” and was committed to “responding to the federal and state guidelines and directives.”

       86.     President Ruscio explained that OCR would investigate the University’s handling

of sexual misconduct complaints broadly, in addition to reviewing the complainant’s specific

grievance.

       87.     OCR’s investigation was not the only challenge to W&L’s handling of sexual

misconduct complaints. In 2014, a male student sued W&L in federal court asserting that the

University wrongly expelled him based on a false complaint of sexual assault brought against

him by a female student (“the 2014 complainant”). The male student alleged that W&L had

subjected him to a gender biased disciplinary proceeding.

       88.     Kozak and Rodocker learned during their investigation of this current case that

Jane Roe and the 2014 complainant were friends and partied together on the evening of Jane

Roe’s alleged assault. Jane Roe chose the 2014 complainant as her “Advisor of Choice” in the

disciplinary proceeding.


                                   18
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 18 of 56 Pageid#: 18
       89.     At no point did the investigators or any W&L administrator question the propriety

of Jane Roe’s selection of the 2014 complainant as her Advisor of Choice.

       90.     W&L settled the male student’s 2014 lawsuit in February 2016. OCR’s

investigation into W&L remained open for three years until it was “resolved” on February 13,

2018. OCR has not disclosed the terms of the resolution.

III.   W&L’s 2016-17 Sexual Discrimination and Misconduct Policy

       91.     In response to OCR’s investigation and scrutiny by the national media on the

 purported nationwide college rape culture crisis, W&L revised its sexual misconduct policies

 and procedures.

       92.     On December 1, 2014, W&L President Ruscio wrote in a Message to the

 Community in response to the allegations disclosed in a Rolling Stone article about an alleged

 gang rape at a fraternity at the University of Virginia, “I have asked Vice President for Student

 Affairs Sidney Evans to build upon our past efforts and continue to work directly with student

 leaders in the weeks ahead to have them address candidly the painful but important questions

 raised by the events reported in the Rolling Stone article. It is an opportunity, a difficult and sad

 one to be sure, to examine our own commitments and to affirm them more strongly than ever.”

       93.     On August 3, 2016, President Ruscio announced a new Sexual Discrimination and

 Misconduct Policy (the “Policy”) which remained in effect at the time of the alleged incident

 involving John and the investigation of Jane Roe’s allegations during March and April 2017.

 (A true and correct copy of the August 2016 Policy is attached hereto as Exhibit 1.)

       94.     President Ruscio stated in his August 3 message to the W&L community that a

 revised Policy was necessary because there had been “a tendency to focus on legalities, on

 compliance and mandates, on the mechanics of the adjudicatory hearings, on the steps in the

 investigations, and on so many other guidelines and directives.”


                                   19
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 19 of 56 Pageid#: 19
      95.     At the outset, the Policy stated that “the University, as an educational community,

will promptly and equitably respond to reports of … sexual assault,” and that “[a]ll University

proceedings are to be conducted in compliance with the requirements of Title IX ….”

      96.     Consistent with Title IX’s “prompt and equitable” mandate, the Policy promised

“complainants and respondents” that they can expect a “prompt and equitable resolution of

allegations of sexual misconduct,” as well as the opportunity “to articulate concerns or issues

about proceedings under the policy,” to have “advisors, including the right to an Advisor of

Choice,” and “to challenge any member of the Harassment and Sexual Misconduct Board

(HSMB) or an Investigation or Review Panel for bias or conflict of interest.”

      97.     The Policy also promised the parties “[t]he opportunity to offer information,

present evidence, and identify witnesses during an investigation,” and “[e]qual access to

information that will be used during the resolution proceedings.”

      98.     The Policy stated that “[t]he University supports victims of sexual misconduct

and encourages all individuals or third-party witnesses to report any incident to the University.”

      99.     The Policy promised students that “[t]he University is committed to treating all

members of the community with dignity, care, and respect. Any individual affected by sexual

misconduct, whether as a complainant, a respondent, or a third party, will have equal access to

support consistent with their needs and available University resources.”

      100.    The University’s support resources specifically identified in the Policy included

counseling provided by “medical, psychiatric, and psychological professionals” with the

University Student Health and Counselling Center. These “trained professionals … are bound

by separate laws of confidentiality,” and “provide counseling, information, and support under

legally protected confidentiality.”




                                  20
Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 20 of 56 Pageid#: 20
       101.     The Policy identified Lauren E. Kozak as the University’s Title IX Coordinator,

who “will oversee the University’s review, investigation, and resolution of those reports to

ensure the University’s compliance with Title IX.” Kozak was responsible for “conducting or

overseeing investigations of complaints against students.”

       102.     The goal of the investigation was “to gather all relevant facts and determine if

there is sufficient information to support a charge against a respondent,” guided by “principles

of fairness and respect for all parties.”

       103.     Pursuant to the Policy, the University typically used a team of two investigators,

one of whom may be the Title IX Coordinator, and required that “[a]ny investigator must be

impartial and free of any conflict of interest.”

       104.     The investigators were expected to “coordinate the gathering of information from

the complainant, the respondent, and any other individuals who may have information relevant

to the determination.”

       105.     During the investigation, “[t]he complainant and respondent will have an equal

opportunity to be heard, to submit information, and to identify witnesses who may have relevant

information.”

       106.     The Policy stated the “[t]he investigation is designed to provide a fair and reliable

gathering of the facts. It will be thorough, impartial, and fair, and all individuals will be treated

with sensitivity and respect. The investigation is a neutral fact-gathering process. The

respondent is presumed to be not responsible; this presumption may be overcome only where

a Harassment and Sexual Misconduct Board hearing Panel concludes that there is sufficient

evidence, by a preponderance of the evidence, to support a finding that the respondent violated

the policy.”




                                  21
Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 21 of 56 Pageid#: 21
      107.    At the conclusion of the investigation, “the investigation team will prepare a

written report that summarizes the information gathered and synthesizes the areas of agreement

and disagreement between the parties and any supporting information.” Before the team

finalizes the report, “it will give the complainant and respondent the opportunity to review the

investigation report,” and to “submit any additional comments, request changes, or request

further investigation ….”

      108.    The team “will then submit the report to the designated Chair of the Harassment

and Sexual Misconduct Board for the specific matter.”

      109.    After reviewing the Investigative Report, the Chair of the particular HSMB

Hearing Panel for the case determined whether to formally charge the respondent and notified

the parties. A charge would be issued “if it is plausible and more than a sheer possibility that

the complainant’s factual allegations could constitute a violation of this policy.”

      110.    The Policy created the new Harassment and Sexual Misconduct Board (“HSMB”)

to hear and decide cases and, if warranted, to administer sanctions. Each HSMB Hearing Panel

consisted of three members selected by the Panel Chair to hear the case and to make a finding

by a preponderance of the evidence as to whether the respondent was responsible for a conduct

violation.

      111.    Under the Policy, “[e]ach member of the HSMB Panel must be impartial and free

of any conflict of interest.” HSMB members “who have reason to believe they cannot make an

objective determination must recuse themselves from the process.”

      112.    The Policy also provided the complainant and respondent with one or two

Hearing Advisors, who “are law and undergraduate students who have been trained to provide

support and advice to complainants and respondents.” Advisors were not permitted “to present




                                  22
Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 22 of 56 Pageid#: 22
evidence, question witnesses, or otherwise participate.”

      113.    In addition, both parties had the right to obtain assistance, at their own expense,

from an Advisor of Choice, who could be “a friend, mentor, family member, attorney, or any

other supporter.” Advisors of Choice were “not trained by the University and are not University

resources.”

      114.    All hearings were “closed to the public” and could not be audio or video-

recorded. The Hearing Panel “will review the investigation report prior to the hearing,” and

during the hearing “may question the complainant, the respondent, any witnesses called, and/or

the investigators, and examine related information and evidence.”

      115.    The parties were not permitted to verbally pose questions to each other or to

witnesses but could “submit written questions to the Chair of the HSMB to ask on their behalf

to the relevant party or witness.” The Chair was permitted to “screen the questions” and had

“discretion to change the wording of the question.”

      116.    In cases where the respondent was found responsible, the Hearing Panel “will

impose a sanction” ranging from dismissal, to suspension, probation, community service,

educational and counseling consultation, and loss of privileges.

      117.    The Policy imposed mandatory expulsion for any student found responsible

beyond a reasonable doubt for nonconsensual sexual penetration.

      118.    Under Virginia law, for a student who has been dismissed or suspended, the

University must make a “prominent notation on the academic transcript, which will read:

[Suspended or Dismissed] for a violation of W&L’s set of standards.” Va. Code Ann. § 23.1-

900.A.

      119.    The Policy permitted a student to appeal a decision within 72 hours of the




                                  23
Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 23 of 56 Pageid#: 23
decision to an Appeal Panel comprised of three members of W&L’s administration. Grounds

for appeal included no reasonable basis for the sanction, new relevant information, procedural

defect or error, or extraordinary circumstances.

       120.    The Policy defined nonconsensual sexual penetration as “[s]exual penetration

with another individual without consent.”

       121.    The Policy stated that individuals who choose to engage in sexual activity of any

type “must first obtain the consent of the other party. Consent is demonstrated through

mutually understandable words and/or actions that clearly indicate a willingness to engage

freely in sexual activity.”

       122.    The Policy provided that, “[e]ither party may withdraw consent at any time.

Withdrawal of consent should be outwardly demonstrated by words or actions that clearly

indicate a desire to end sexual activity. Once withdrawal of consent has been expressed, sexual

activity must cease.”

       123.    The Policy further stated that, “[a]n individual who is physically incapacitated

from alcohol or other drug consumption (voluntarily or involuntarily) or is asleep, unconscious,

unaware, or otherwise physically helpless is considered unable to give consent.”

       124.    The Policy defined “incapacitation” as “the inability, temporarily or permanently,

to give consent because an individual is mentally and/or physically helpless, asleep, unconscious,

or unaware that sexual activity is occurring.”

       125.    “In other words, a person may be considered unable to give valid consent due to

incapacitation if the person is not able to understand the who, what, where, when, why, and/or

how of a sexual interaction.”

       126.    The Policy listed three “questions” that the University must ask and determine “in




                                   24
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 24 of 56 Pageid#: 24
cases of alleged incapacitation”: “(1) Was complainant incapacitated? (2) If so, did the

respondent know that the complainant was incapacitated? and (3) If not, would a sober,

reasonable person in the same situation have known that the complainant was incapacitated

based on objectively and reasonably apparent indications of impairment.”

       127.    Under the Policy, “[w]here alcohol or other drugs are involved, incapacitation is a

state beyond drunkenness or intoxication.” The “common warning signs” that a person “may be

incapacitated or approaching incapacitation as a result of alcohol or drug use or consumption

may include slurred speech, vomiting, unsteady gait, odor of alcohol, incontinence,

combativeness, or emotional volatility.”

       128.    The Policy noted that, “[i]t is especially important, therefore, that anyone

engaging in sexual activity be aware of the other person’s level of intoxication.”

       129.    The Policy as a general matter prohibited the parties’ prior sexual history to be

admitted as evidence during an investigation and/or hearing on the basis that prior sexual history

“is not relevant.”

IV.    W&L Treated John Less Favorably Than Jane Roe in Every Phase of the
       Disciplinary Proceeding Motivated at Least in Part by Gender Bias

       A.      The Incident

       130.    John enrolled as an undergraduate student at W&L and matriculated in the Fall of

2015. Beginning at that time and continuing through the events giving rise to this action, John

paid full tuition to attend the University.

       131.    John expected to graduate in the Spring of 2019.

       132.    John and Jane Roe had been friends since their freshman year. On the day of the

alleged incident, both were second term sophomores.

       133.    Jane Roe falsely accused John of sexually assaulting her in the early morning


                                   25
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 25 of 56 Pageid#: 25
hours of March 12, 2017.

       134.     John had spent the evening of Saturday, March 11, 2017, with his fraternity

brothers at an off-campus house where they hung out and drank some wine. Jane had begun

sending Snapchat messages to John and they made plans to meet later in the evening.

       135.     At approximately midnight, John returned to his room at the fraternity house. He

and Jane again exchanged text messages about hanging out together.

       136.     John agreed to meet Jane halfway between her dorm and his fraternity house,

approximately one-half mile. When they met, they both agreed to walk back to John’s house.

Jane appeared sober. She did not have any trouble walking or talking as the two walked back to

John’s house.

       137.     Upon entering John’s room, Jane sat on his bed and they began to watch a show

on John’s laptop computer. They were both reclining on the bed. Jane told John she was not

interested in watching the show, so he closed the laptop and put it on the floor. The two then got

under the duvet on John’s bed.

       138.     Jane had been wearing a sweatshirt, a bralette, and a skirt. She told John that she

had left her underwear at Witness A’s house. Jane removed her bralette because she had nipple

barbells inserted and they made her uncomfortable when wearing the bralette.

       139.     Jane began kissing John and the two continued to kiss for a while. They stopped

for moment and Jane asked for a drink. John retrieved a can of coconut seltzer from the mini-

refrigerator in his room. Jane drank approximately one third of the can.

       140.     As they resumed kissing, Jane asked John “if it would be weird for our friendship

if we have sex.” John replied that it would only be weird if she made it seem weird.

       141.     Jane asked John if he would like to receive oral sex and he agreed. After a few


                                   26
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 26 of 56 Pageid#: 26
minutes of receiving oral sex from Jane, John asked her to stop because it “felt weird” and was

not pleasurable for him. The two then proceeded to make small talk.

       142.    Jane asked John who he was taking to the formal event hosted by his fraternity the

following week. John replied that he was still looking for a date. Jane stated that he “should

take someone cool.”

       143.    The fraternity event was offsite and members were renting hotel rooms. Jane

asked John if he had booked a single room or was he sharing a double room. She suggested that

he should get a single room. John replied that he preferred a double. John sensed that Jane

wanted him to ask her to the formal.

       144.    Jane next asked John about the upcoming University Fancy Dress event. John

told Jane who he was taking as his date and she replied that he should take someone else.

       145.    Jane had recently broken up with her boyfriend and told John that she missed

being in a relationship, but she said a relationship between the two of them would not work,

while rubbing her head against his chest.

       146.    Several times throughout their ongoing conversation, Jane asked if it would “be

weird for our friendship” to have sex; however, when John asked if she wanted him to get a

condom, she nodded and said, “yes.”

       147.    John and Jane proceeded to have sexual intercourse. Jane was fully engaged in

the sexual act, so much so that John asked her to be quieter so she wouldn’t wake anyone up.

       148.    Afterwards, the two fell asleep. The following morning, Jane woke John and

asked John to check if anyone was in the house who might see her leave. John replied no, there

was not, and Jane left. John drank the rest of the seltzer from the can and went back to sleep.

       149.    Jane sent John a text asking at what time they had sex the previous night. When



                                   27
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 27 of 56 Pageid#: 27
John awoke, he responded that he “honestly had no idea.” However, it was evident that Jane

knew the two had sexual intercourse the previous evening.

       150.    Later that same day, John received a letter from W&L Title IX Coordinator

Lauren Kozak informing him that she required him to meet with her.

       B.      The Investigation

       151.    On March 14, 2017, Jane Roe met with Title IX Coordinator Lauren Kozak, who

took her complaint and appointed herself as lead investigator. Kozak enlisted Associate Dean

Jason Rodocker as the second investigator.

       152.    John met with Kozak and Rodocker the week following the alleged incident.

       153.    Witness interviews were held throughout March 2017. In late March, John met

with the investigators to review his interview statement, as well as interview statements of Jane

Roe and witnesses in the draft Investigative Report prepared by Kozak and Rodocker. John

reviewed the final Investigative Report a day or two before the hearing. John was not allowed to

take notes or have a copy of the Investigative Report, and thus, his account below of the contents

of the Report is based on his best recollection.

       154.    Jane stated in her interview that she did not think she was intoxicated during the

night of the alleged incident. Witnesses described that Jane did not appear intoxicated.

       155.    Jane stated that she had been taking Lexapro, an antidepressant, and believed that

she had taken a dosage that night sometime between 7 p.m. and 8 p.m.

       156.    Prior to meeting up with John, Jane stated that she had been at the home of a

female friend, a senior at W&L, and had consumed approximately four glasses of wine from

approximately 8 p.m. to 10 p.m.

       157.    Jane’s female friend was the “2014 complainant” – i.e., she was the W&L female

student who in 2014 accused a W&L male student of sexually assaulting her. After W&L found


                                   28
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 28 of 56 Pageid#: 28
the male student responsible and expelled him, he sued W&L claiming he had been falsely

accused and the University had subjected him to a gender biased disciplinary proceeding.

       158.     The 2014 complainant became Jane Roe’s Advisor of Choice for Jane’s complaint

against John.

       159.     Jane told the investigators she left her friend’s house at approximately 10 p.m.

and attended an off- campus party at a fraternity where “jungle juice” was served. She did not

know how the juice was made, but knew it contained alcohol. Jane stated her last alcoholic drink

was the juice at approximately 10:30 p.m. Jane had continued to send flirty, suggestive Snapchat

messages to John throughout the evening.

       160.     Jane later met up with Witness A, a male W&L student, with whom she had

consensual sexual intercourse that night.

       161.     When asked about Jane’s intoxication level, Witness A told the investigators Jane

seemed fine. After having consensual sexual intercourse with Jane, Witness A stated that he

called for a ride back to campus for Jane at around midnight. The driver was later interviewed

and stated he thought Jane appeared sober. Witness A asked the investigators that he not be

identified in the Investigative Report or otherwise, and they complied with his request. John was

never informed of Witness A’s identity. Jane Roe of course knew who Witness A was. Witness

A was the only witness whose name was not disclosed in the Investigative Report.

       162.     After arriving back to her dormitory, Jane continued to message John to meet up,

and they agreed to each walk halfway from their locations to meet.

       163.     They walked to John’s fraternity and entered his room. Jane’s account of her time

with John in his room was consistent with John’s account up until the sexual intercourse,

although her recollection differed from John’s in some relatively minor respects, e.g., she




                                   29
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 29 of 56 Pageid#: 29
recalled that John initiated the kissing.

       164.      During her interview with the investigators, and later at the hearing, Jane claimed

that, after drinking the seltzer that John gave her, she fell asleep and does not remember what

happened next. Jane claimed that all of her sexual activity with John – the making out, the

touching, and the oral sex – was consensual, but the sexual intercourse was not. She also

claimed she would not have consented to intercourse with John because he was not somebody

with whom she wanted a relationship.

       165.      She claimed that, when she awoke in John’s room that morning, she saw a

condom in the trash can, and only then realized that she and John had engaged in sexual

intercourse.

       166.      On or about April 13, 2017, W&L clinical psychologist Janet Boller from the

University Counseling Center met with Jane. According to Boller’s expert report, it was the only

time she met with Jane; i.e., she was not Jane’s treating therapist.

       167.      Upon information and belief, subject to discovery in this matter, Jane Roe had

been referred to Boller by the investigators.

       168.      On or about April 17, 2017, investigators Kozak and Rodocker met with Boller to

conduct an interview. Thereafter, Boller prepared an expert report and submitted it to the

investigators.

       169.      Approximately one day before the hearing, on or about April 24, 2017, Kozak and

Rodocker forwarded a revised hearing packet to the Hearing Panel and John. The revised

hearing packet included the Boller expert report, which the investigators characterized as

“medical evidence.”

       170.      This was the first time John knew about and saw the Boller expert report.




                                   30
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 30 of 56 Pageid#: 30
Boller’s expert report had not been included in the original hearing packet provided to him. The

Boller expert report was submitted to the Hearing Panel unilaterally by the investigators on the

eve of the hearing, without according John an opportunity to object to it, to have a medical

professional review it, or to submit a rebuttal expert report.

       171.       In effect, it was presented to the Hearing Panel as an unchallenged expert opinion.

       C.         The Hearing, Decision, and Sanction

       172.       On April 25, 2017, a hearing by a Panel of the Harassment and Sexual

Misconduct Board was held on April 25, 2017.

       173.       Assistant Dean of Career Strategy, Cliff Jarrett, selected the Hearing Panel,

comprised of three members from W&L’s administration: Mary Main, Assistant Title IX

Coordinator and Executive Director of Human Resources; Steve McAllister, Treasurer and Vice

President for Finance and Administration and Member of the Emergency Management Executive

Team; and Lindsey Nair, Director of Content Development, Office of Communications and

Public Affairs.

       174.       Both John and Jane were present at the hearing along with their two Honor

Advisors assigned by the University. Kozak and Rodocker also attended.

       175.       Other than Jane and John, the Hearing Panel called no witnesses to testify. The

Hearing Panel made no recording or written transcript of the hearing and made no record of the

parties’ questions which were submitted, rejected, asked or answered at the hearing.

       176.       At the conclusion of the hearing, the Panel voted unanimously to find John

responsible by a preponderance of the evidence for nonconsensual sexual penetration. The

Panel did not find John responsible “beyond a reasonable doubt,” which would have imposed a

mandatory sanction of expulsion.

       177.       The Hearing Panel explained that, “the decision in this case came down to the


                                   31
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 31 of 56 Pageid#: 31
credibility of the Complainant and the Respondent.” The Panel inexplicably concluded that it

“had trouble with the Respondent’s claim that receiving oral sex from a friend felt ‘weird’, but

that he would proceed to have sexual intercourse with her. His answer to this question, as well

as others, lacked detail and conviction.”

       178.    Here, the Hearing Panel imposed its own sexual mores and judgment in rejecting

John’s honest disclosure regarding his sexual preferences. For unexplained reasons, the Panel

members could not accept the notion that a male student at W&L could prefer sexual

intercourse over oral sex. Even more to the point, John’s sexual preferences had no bearing on

his credibility concerning what happened that evening. In fact, John provided a detailed (and

convincing) account of his interaction with Jane to the investigators and to the Hearing Panel.

       179.    The Hearing Panel also found credible Jane Roe’s testimony that, “she would

never consent to sex with Respondent,” given her “personal rule that she only has full sexual

intercourse with partners if she is interested in a relationship,” and “she has never been

interested in that type of relationship with the Respondent.”

       180.    The Hearing Panel accepted Jane Roe’s subjective, unsubstantiated “personal

rule” testimony as “consistent and credible” – without putting it to the test.

       181.     Yet, a red flag on Jane’s credibility regarding her “sexual preferences” was in

the record before the Hearing Panel. The Panel knew from the Investigative Report that Jane

Roe had engaged in consensual sexual intercourse earlier that same evening with Witness A.

       182.    The Hearing Panel chose not to ask Jane Roe about Witness A. Nor did the

Panel call Witness A to testify about his interaction with Jane Roe that evening, specifically

about whether Jane Roe had expressed to him in actions or in words an interest in having a

relationship. That testimony might have called into question the credibility and truthfulness of




                                   32
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 32 of 56 Pageid#: 32
Jane’s adherence to her “personal rule.”

       183.    Ordinarily, a party’s sexual history would be deemed irrelevant and inadmissible

under the Policy, but here, Jane Roe put her sexual history and sexual preferences squarely at

issue by claiming that her “personal rule” necessarily meant she would never have consented to

intercourse with John.

       184.    Without any factual basis, the Hearing Panel found John’s sexual preference

testimony not credible, but Jane’s sexual preference testimony credible (i.e., John was not

credible in expressing a preference for sexual intercourse over oral sex, but Jane was credible in

expressing her personal rule limiting sexual intercourse to potential relationship partners). The

Hearing Panel’s use of a double standard strongly suggests that gender bias in favor of the

female complainant motivated its credibility determination.

       185.    The Hearing Panel’s credibility assessment regarding the effect of alcohol and

drug consumption exhibited the same lack of factual basis and the same gender-biased, one-

sided favoritism.

       186.    Even though both parties acknowledged alcohol and drug consumption, the

Panel only considered that issue with respect to John’s credibility. The Panel disbelieved

John’s testimony that “his memory of the night in question was not impacted” by his intake of

wine and marijuana. The Panel faulted John’s memory of the “sequence of conversations,

general timing of events and how his pants got back on.” The Panel critiqued John for his

strong recall of “details that would exonerate him” but “fuzzy” memory “on other details.” By

contrast, the Panel found nothing questionable at all about Jane’s alleged complete loss of

memory of certain, selected events that evening.

       187.    The Hearing Panel also arbitrarily discounted John’s testimony that Jane’s eyes




                                   33
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 33 of 56 Pageid#: 33
were open during intercourse. The Panel concluded that John could not have seen that Jane’s

eyes were open because the room was too dark. But, the investigators had not made an on-site

visit of John’s room to assess the nighttime illumination from the outdoor lights, nor had they

asked John about the light level in his room from sources other than the room lights. Thus, the

Panel’s finding about the darkness of the room had no evidentiary basis at all.

       188.    Finally, the Hearing Panel determined that Jane “was not capable of providing

consent because she was either asleep or nearly asleep.”

       189.    This finding has no basis in the Policy. The Policy defines the inability to

provide consent as follows: “An individual who is physically incapacitated from alcohol or

other drug consumption (voluntarily or involuntarily) or is asleep, unconscious, unaware, or

otherwise physically helpless is considered unable to give consent.”

       190.    The fact that a person was “nearly asleep” is not a basis in the Policy for a

finding that the person was unable to give consent. The Hearing Panel’s finding is so contrary

to the plain terms of the Policy as to elude explanation.

       191.    Further, the Hearing Panel never determined if Jane Roe was in fact “asleep.”

The Panel only found that she was either “asleep” or “nearly asleep.” With no factual basis to

find that Jane was in fact asleep, the Panel chose to concoct a new definition of consent by

which the Panel could make an “either or” or “maybe” determination. But “maybe” is not a

sufficient factual basis to make a finding of responsibility for sexual assault under the Policy’s

preponderance of the evidence standard.

       192.    To the extent the Hearing Panel did decide that Jane Roe was in fact “asleep,”

that finding defies common sense and physical reality. The Panel did not find that Jane Roe

was “physically incapacitated from alcohol or other drug consumption” or that she was




                                   34
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 34 of 56 Pageid#: 34
“unconscious, unaware, or otherwise physically helpless.” Jane herself did not claim any of

these incapacities, and John and the witnesses testified she appeared to be fine and in control of

her faculties. Jane claimed only that she fell asleep. If that were truly the case, she would have

awakened upon sexual penetration. The Hearing Panel’s decision does not even mention, much

less consider, how it was possible for Jane to simply fall asleep, but to not awaken when John

penetrated her.

       193.       Jane’s story is not credible. The Hearing Panel’s finding cannot be reconciled

with the standard of consent in the Policy, the consistent testimony of the parties and witnesses

with respect to incapacitation, and physical reality.

       194.       The Panel’s finding that Jane was “either asleep or nearly asleep” was not

supported by even a scintilla of evidence, much less by a preponderance of the evidence, as

required under the Policy. Not only did the Panel fail to ask the three “questions” that the

Policy required “in cases of alleged incapacitation” (was complainant incapacitated? If so, did

the respondent know? If not, would a reasonable person in the same situation have known

complainant was incapacitated?), it failed in any way to wrestle with or answer those questions

in support of its decision.

       195.       In addition to these substantive and procedural defects in the hearing process,

there were conflicts of interest or the appearance of conflicts of interest among the Panel

members who, upon information and belief, either reported to one another in their official

capacities or represented institutional interests and by the nature of their positions had a duty to

protect the liability of the University. These conflicts could affect the Panel’s ability to serve as

neutral and independent arbiters.

       196.       For example, Mary Main, in her role as Assistant Title IX Coordinator, supported




                                   35
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 35 of 56 Pageid#: 35
Title IX Coordinator Lauren Kozak. Kozak in turn also served as the lead investigator in the

case. Since Main’s Title IX job required her to “support” Kozak, she had an inherent conflict of

interest as a Hearing Panel member tasked with examining the Investigative Report critically and

independently.

       197.      Further, as Executive Director of Human Resources, Main worked within the

Office of Finance and Administration and reported to co-Panelist Steve McAllister, Treasurer

and Vice President of Finance and Administration. These additional employment affiliations

created a conflict of interest as to Main’s ability to exercise independent judgment that might

place her in conflict with her two bosses – i.e., investigator Kozak and co-panelist McAllister.

       198.      Throughout the hearing, the Panel’s bias was palpable to John, both in the

questions the Panel members asked John but failed to ask Jane Roe, and in the tone of deference

Panel members accorded Jane but the tone of disapproval accorded to John.

       199.      The Hearing Panel imposed a sanction of (i) a one term suspension through the

Fall 2017 term; (ii) successful completion of counseling for both sexual and substance abuse;

(iii) probation beginning immediately, to be extended if readmitted through the end of the

academic year 2017-18; and (iv) while on campus a no contact order with Jane requiring John

to make every effort to avoid and remove himself from her presence. The sanction permitted

John to apply for reinstatement for the Winter 2018 term.

       200.      John was allowed to remain at W&L to complete the Spring 2017 semester.

The sanction of suspension went into effect on May 21, 2017.

       201.      The sanction also resulted in a mandatory transcript notation on John’s education

transcript, as follows: “Suspended for a violation of W&L’s set of standards."

       D.        The Appeal

       202.      John appealed the finding of responsibility and the sanction. Jane Roe appealed


                                   36
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 36 of 56 Pageid#: 36
the sanction. The three-member Appeal Panel consisted of Trenya Mason, Assistant Dean of

Law Student Affairs; Keith Davis, Assistant Director for Advancement Operations; and Sally

Stone Richmond, Vice President for Admissions and Financial Aid.

       203.    Both parties’ appeals were denied in early May 2017.

       204.    John argued on appeal that the Hearing Panel did not have a reasonable factual

basis to question his memory of events based on his alcohol and marijuana consumption. John

pointed out in his appeal that Jane Roe told the investigators John did not seem drunk. John

argued the investigators never questioned him about his memory and, had they done so, he

would have identified witnesses who would have corroborated Jane’s testimony that he did not

seem drunk. John argued he should be accorded the opportunity to present new, relevant

evidence to rebut the Panel’s credibility finding.

       205.    John also argued against the Hearing Panel’s conclusion that he was not credible

when he told the Panel he could see Jane’s eyes were open during intercourse. John pointed out

in his appeal that Jane was able to describe John’s room in detail to the investigators, and John

had described to the Panel the outside lighting sources that illuminated his room.

       206.    Beyond these plain errors, the Appeal Panel should have reversed the Panel’s

decision based on the Panel’s fundamental procedural error on the definition of inability to give

consent. As previously alleged, the Hearing Panel used an incorrect definition in finding that

Jane could not give consent because she was “either asleep or nearly asleep.” This finding by

the Hearing Panel was procedurally defective on its face.

       207.    The Appeal Panel’s failure to reverse the Hearing Panel’s decision and to order a

new hearing free from conflicts of interest, gender biased judgments on credibility, reliance on

incorrect Policy definitions, and factually unsupported conclusions cannot be rationalized.




                                   37
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 37 of 56 Pageid#: 37
       208.    Like the Hearing Panel, the Appeal Panel consisted of W&L administrators

whose affiliations with the University created inherent conflicts of interest and called into

question their ability to be neutral arbiters. Their members represented institutional interests

and by the nature of their positions they each had a duty to protect the liability of the

University.

V.     John’s Applications for Reinstatement and W&L’s Arbitrary Denials

       209.    On November 15, 2017, John timely submitted his application for reinstatement

for the Winter Term 2018 following completion of his suspension. As required by the

application for reinstatement and the sanctions determined by the Hearing Panel, John provided

proof of his counseling for substance and sexual abuse; an evaluation from his treating health

care provider concerning his readiness to return to the University; proof of his engagement in

volunteer activities and employment during his suspension; and his personal essay.

       210.    These requirements had been set forth by the University in a May 31, 2017 letter

to John from W&L’s Vice President for Student Affairs and Dean of Students, Sidney Evans.

The letter also stated that John must be “fully engaged” for “approximately forty hours per

week in constructive undertakings. These efforts can include any combination of course work

at an accredited our-year college or university, employment, volunteer/community service, or

similarly enriching opportunities ….”

       211.    John’s reinstatement application more than adequately complied with these

requirements. His application included a sexual assault and alcohol abuse evaluation by John’s

treating psychologist, a Ph.D. trained professional with more than 30 years of experience and

practice focusing on substance abuse and relationship issues.

       212.    Based on multiple weekly counseling sessions with John and several assessment

questionnaires, the psychologist concluded that John “does not present as a sexual predator,” he


                                   38
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 38 of 56 Pageid#: 38
“poses no danger to the other students,” his alcohol consumption is “consistent with that of his

peers,” and he is aware of sexual situations “that could be fraught with risk after drinking.”

       213.    The psychologist observed that John “is eager to continue his education at

W&L,” and that, in his professional opinion, John “is able to comply with the requirements of

his re-instatement.”

       214.    John also provided W&L with a letter of recommendation in support of his

reinstatement from the priest who supervised John’s volunteer activities with a local parish,

which included renovating a floor of the parish center so that a Venezuelan refugee family

could move in. John provided W&L with information concerning his employment history with

a summer camp and his work with a realty company assisting with rental property listings.

       215.    On November 30, 2017, John received a letter from W&L denying his

reinstatement. The letter stated that John’s personal essay “did not demonstrate your readiness

to return” to W&L, and that a future application would be strengthened by “full-time

coursework, in person, at a college or university accredited by one of the six regional

accrediting agencies.” The letter also stated that any future reinstatement application should

reflect volunteer work “surrounding alcohol abuse and/or sexual abuse.”

       216.    The requirement for “full-time coursework, in person,” at an accredited college

or university was a new, additional stipulation for reinstatement that had not been listed on the

original sanction form by the Hearing Board, in the May 31, 2017 Evans letter, or in the

application for reinstatement.

       217.    Moreover, requiring John to attend, in person, classes at an accredited college or

university meant that any institution to which he would apply for full time courses would want

proof that he was in good standing with a disciplinary report from his former institution. Given




                                   39
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 39 of 56 Pageid#: 39
that John’s report would state that he was suspended, he would be required to respond truthfully

to questions as to the reason for the suspension, i.e., that the suspension was due to a finding of

responsibility for sexual assault.

       218.    Thus, while W&L had forbidden John to step foot upon its campus, the

University was now requiring him to somehow gain admittance to an institution of similar

standing to complete full-time course work in person, even though his disciplinary record from

W&L made admittance at another school highly improbable, if not impossible.

       219.    The additional, previously undisclosed requirement of volunteer work

surrounding substance or sexual abuse was equally unattainable. John would have to disclose

to any prospective supervisor that he had been suspended from W&L due to a finding of sexual

assault with a sanction that also included mandatory counseling sessions for substance and

sexual abuse. That truthful disclosure would almost certainly foreclose his acceptance for this

category of volunteer work.

       220.    On July 29, 2018, John timely submitted his second application to W&L for

reinstatement for the Fall 2018 Term.

       221.     In his four-page reinstatement essay, John attempted to address the Committee’s

criticism that his first personal essay “did not demonstrate your readiness to return to

Washington and Lee.”

       222.    In his second essay, John described more fully the content and impact of his

counseling sessions with his treating psychologist. He explained that the counseling focused on

“substance abuse and sexual abuse” and “the Harassment and Sexual Misconduct Board

decision,” and that he and his counselor discussed “behaviors that contribute to these types of

situations and remedial actions which include limiting alcohol consumption … and striking a




                                   40
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 40 of 56 Pageid#: 40
balance between academic and social activities.”

         223.   John also described counseling sessions he had on a regular basis with a

Licensed Clinical Social Worker, during which they discussed the trauma and emotions he

experienced surrounding the sexual misconduct allegation and proceeding, and how different

people process stressful events based on their backgrounds and beliefs.

         224.   He explained that his therapy sessions with both counselors “were educational

and enlightening,” and that he has “gained a great appreciation for differing perspectives from

both.”

         225.   He reiterated and more fully described his volunteer work at the local parish,

including his work in resettling a refugee family. He stated that he had been grateful to be “able

to help a family in need resettle and move forward with their lives.”

         226.   He more fully described his 5-year history of employment at the summer camp

as camp leader, athletic coach, and mentor, and his full-time employment at his former high

school, where he organized major fund drives for the school’s food pantry, worked with

freshman groups on volunteer service activities, and communicated with students, parents, and

teachers in preparing for retreats, service experiences, and on-campus activities.

         227.   John provided W&L with a letter of recommendation in support of his

reinstatement application from his direct supervisor at the high school. The supervisor praised

John, stating that “[i]n all of these roles, [John] displayed responsibility and professionalism.

He was organized, positive, and always willing to help where he was needed …. To conclude,

we were very happy to have [John] work with us this past year.”

         228.   Finally, John reflected on his efforts while he was at W&L to work with an

academic coach to improve his academic performance. He described his commitment to




                                   41
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 41 of 56 Pageid#: 41
continue those better study habits and his goal to graduate and to contribute to society.

        229.    Collectively, these “constructive undertakings” fully satisfied the requirements

for reinstatement in the sanctions determined by the Hearing Panel, the May 31, 2017 Evans

letter, and the reinstatement application.

        230.    On August 14, 2018, John received a letter from W&L denying his second

reinstatement application. The letter stated that, “the Committee based its decision on the fact

that you have not demonstrated successful coursework in a rigorous academic environment and

that your application for reinstatement revealed no clear evidence of reflection and readiness to

return to Washington and Lee.”

        231.    Despite the near impossibility of even being accepted for coursework in a

rigorous academic environment in light of John’s suspension from W&L for sexual misconduct,

and the near impossibility of actually “completing” such coursework, W&L persisted in making

this unattainable requirement a condition of reinstatement.

        232.    Ironically, after his second reinstatement rejection from W&L, John applied to

prospective transfer schools, and in all his applications he truthfully disclosed his disciplinary

record from W&L. He was rejected by all four colleges and universities to which he applied,

including his application as a non-matriculating student.

        233.    His W&L disciplinary record almost certainly was a major factor, if not the

deciding factor, in all four rejections.

        234.    The imposition of next to impossible conditions for reinstatement has effectively

resulted in John’s permanent exclusion from W&L. By this post-discipline device, W&L in

effect has converted the Hearing Panel’s one-term suspension into an expulsion.

        235.    Upon information and belief, W&L’s arbitrary, “bait and switch” conduct toward




                                   42
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 42 of 56 Pageid#: 42
John, in which the University twice imposed new, essentially unattainable requirements as

justification for denial of reinstatement, was motivated at least in part by gender bias against

male students like John who have been accused of and sanctioned for alleged sexual

misconduct.

       236.    Upon information and belief, W&L’s arbitrary conduct toward John in the

reinstatement process was also motivated by a desire to retaliate against him for asserting his

Title IX rights. In June 2017, W&L became aware that John had retained an attorney who

specialized in Title IX litigation when that attorney wrote to the University on John’s behalf

seeking the investigation report in John’s case and his complete student conduct file after John’s

direct efforts with the University for those records were unavailing.

       237.    In September 2017, John brought a state court action under Virginia Supreme

Court Rule 4.2 seeking those same records and information.

       238.    The University’s first reinstatement denial in November 2017 quickly followed

that records dispute.

VI.    Plaintiff’s Entire Future is Severely Damaged by W&L’s Actions

       239.    As a result of W&L’s actions, John’s entire academic career has been halted.

Without a college education, his economic and employment future is completely compromised.

       240.    John’s education is at a standstill. John is unable to continue his education at

W&L, or any other institution, due to W&L’s wrongful finding against him and the stigma that

he has suffered by being labeled a sexual predator.

       241.    John’s academic and disciplinary record is irrevocably and irreversibly tarnished

and will not allow him to transfer to any other educational institution to complete his

undergraduate degree, let along pursue post-graduate studies.

       242.    As a result of W&L’s actions, John’s parents’ financial resources used to provide


                                   43
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 43 of 56 Pageid#: 43
him with a good education have been squandered.

          243.   Any attempt to move on with his future in the face of W&L’s arbitrary and

capricious outcome and reinstatement denials will be met with resistance and little likelihood of

success.

          244.   Without appropriate redress, the unjustified outcome of the hearing will continue

to cause irreversible damage to John, with no end in sight. John seeks redress from this Court

to undo the wrongs occasioned by W&L on his education and future.

                                                COUNT I
             Discrimination in Violation of Title IX of the Education Amendments of 1972,
                                        20 U.S.C. § 1681 et seq.


          245.   John repeats and incorporates the foregoing allegations as if fully set forth

herein.

          246.   Title IX of the Education Amendments of 1972 provides that: “No person in the

United States shall, on the basis of sex, be excluded from participation in, be denied the benefits

of, or be subjected to discrimination under any education program or activity receiving Federal

financial assistance.”

          247.   Title IX applies to all public and private educational institutions that receive

federal funding.

          248.   W&L is a recipient of federal funds and is therefore bound by Title IX and its

regulations.

          249.   Title IX prohibits the imposition of University discipline where (as here) gender

bias was a motivating factor in the decision to discipline.

          250.   Consistent with Title IX, W&L’s Policy promised accused students that they

could expect a “prompt and equitable resolution” of sexual misconduct allegations against



                                   44
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 44 of 56 Pageid#: 44
them, and that W&L’s sexual misconduct proceedings would be guided by “principles of

fairness and respect for all parties.”

        251.    Thus, the Policy facially complied with Title IX.

        252.    But, under pressure from OCR’s long-running investigation of W&L’s alleged

mishandling of sexual misconduct complaints (overwhelmingly brought by female students)

and faced with the threat of loss of federal funding, the University’s Title IX personnel in

John’s case failed in crucial ways in each phase of the disciplinary proceeding to adhere to Title

IX’s requirement of a fair and impartial proceeding free from gender bias.

        253.    W&L reached an adverse, erroneous outcome in John’s case. John was innocent

and wrongly found to have committed a sexual assault, and gender bias was a motivating factor

behind the erroneous finding.

        254.    As set forth in detail in the foregoing Nature of the Action and Sections IV and

V, the investigators engaged in certain intentional acts and omissions with respect to the

gathering of evidence that favored Jane Roe to John’s detriment; the Hearing Panel’s finding

was not supported by even a scintilla of evidence, let alone the required preponderance of the

evidence standard; in the absence of an objective, evidentiary basis for its finding, the Hearing

Board relied on gender stereotypes in making credibility determinations in favor of Jane and

against John; the Hearing Panel failed to call Witness A or to question Jane about her alleged

“personal rule” on limiting sexual intercourse to potential relationship partners; the Hearing

Panel used a definition of inability to consent that did not exist in the Policy; the Appeal Panel

failed to reverse the Hearing Panel’s decision, which was based on its erroneous application of a

non-existent definition of inability to consent and was procedurally defective on its face.

        255.    In summary, the following non-exclusive facts and circumstances in John’s case




                                   45
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 45 of 56 Pageid#: 45
establish an erroneous outcome motivated at least in part by gender bias:

              The Title IX investigators accepted as “medical evidence” an expert report

               prepared by Janet Boller, a University Counseling Center psychologist, offering

               her opinion that Jane suffered from Acute Stress Disorder. The report was

               patently unfair because the investigators disclosed its existence to John one day

               before the hearing, which left John with no time to object to the report or to

               engage an expert of his own to prepare a rebuttal. Boller was far from being an

               independent, neutral medical expert. Not only was she an employee of the

               University, she was the University’s designated contact person for the

               University-sponsored Student Sexual Assault Survivor Support Group. Her

               professional duties included supporting students who identify themselves as

               “survivors” of sexual assault, who are overwhelmingly female.

              Upon information and belief, subject to discovery in this matter, the

               investigators referred Jane Roe to Boller – not for treatment with a neutral, non-

               partisan therapist – but for purposes of preparing a medical report that would

               have the effect of bolstering the female complainant’s story.

              The Hearing Panel based its finding of responsibility on a definition of inability

               to provide consent that does not exist in the Policy, i.e., the Panel found that

               Jane Roe was “either asleep or nearly asleep.”

              The Hearing Panel did not determine, by any standard of evidence, that Jane

               Roe had in fact been “asleep” during sexual intercourse with John. “Nearly

               asleep” is not included in the Policy’s list of incapacitating physical or mental

               conditions.



                                   46
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 46 of 56 Pageid#: 46
           Even if Jane Roe had fallen asleep (as she claimed), she certainly would have

            awakened upon sexual penetration. The Hearing Panel did not find that Jane

            was intoxicated or was physically incapacitated from alcohol or drug

            consumption, and Jane herself never claimed otherwise. Witnesses reported that

            she seemed fine. The Panel’s finding of a sexual assault during sleep defies

            physical reality, and no reasonable fact finder could have found John

            responsible by a preponderance of the evidence.

           The Hearing Panel accepted at face value Jane Roe’s “personal rule” testimony,

            in which she claimed she would not have consented to sexual intercourse with

            John because of her “personal rule” limiting sexual intercourse to potential

            relationship parties. Yet, the Panel did not question Jane Roe about her sexual

            encounter with Witness A that same evening, which included sexual intercourse,

            nor did the Panel call Witness A to testify about whether Jane discussed her

            “personal rule” with him that evening before engaging in consensual sexual

            intercourse.

           There were conflicts of interest among the Hearing Panel members, all of whom

            were high-ranking W&L administrators, which caused them not to be neutral

            fact finders in the disciplinary proceeding.

           One of the Panel members, Mary Main, reported to another Hearing Panel

            member (Steve McAllister, who served as W&L’s Treasurer and Vice President

            for Finance and Administration). In her role as Assistant Title IX Coordinator,

            Main was also tasked with “supporting” W&L’s Title IX Coordinator, Lauren

            Kozak, who in turn appointed herself as the lead investigator in John’s case. By



                                  47
Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 47 of 56 Pageid#: 47
                  the nature of their positions with the University, Panel members had a duty to

                  protect the liability of the University.

                 The Appeal Panel should have reversed the Hearing Panel’s finding, which was

                  based on a patently incorrect definition of inability to give consent and was not

                  supported by even a scintilla of evidence, let alone the required preponderance

                  of the evidence.

                 In every phase of the disciplinary proceeding, W&L’s Title IX personnel failed

                  to consider evidence that supported John’s innocence and refuted Jane’s

                  implausible accusation.

                 The University’s requirements for John’s reinstatement were revised and

                  increased arbitrarily with new requirements that had not been listed on the

                  original sanction form prepared by the Hearing Panel, in the May 31, 2017

                  Evans letter, which set forth the terms and conditions of reinstatement, or in the

                  application for reinstatement.

                 W&L’s conduct with respect to John’s reinstatement was a continuation of the

                  University’s pattern throughout the disciplinary proceeding of bias against John

                  due to gender, and constituted impermissible retaliation against John by the

                  University.

       256.       Upon information and belief, W&L’s lack of fairness in its handling of the

disciplinary proceeding in John’s case was intentional and was motivated by institutional

gender bias created by the long-running OCR investigation into W&L’s alleged mishandling of

female complaints of sexual misconduct, with the threat of withdrawal of federal funds, and by

a campus climate that supported student “survivors” of sexual assault, who are overwhelmingly



                                   48
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 48 of 56 Pageid#: 48
female, and who are presumed to be victims based on their accusation before an investigation

and adjudication even begins.

       257.    W&L’s student group SPEAK personified the “survivor” approach to campus

sexual assault. Its mission was to “support survivors” and to “spread awareness about sexual

misconduct.” Those can be laudable goals, but they are impermissible under Title IX when

accompanied (as was the case in the proceeding against John) by institutionalized pressure to

presume that accused students (who are overwhelmingly male) are perpetrators and their

accusers (who are overwhelmingly female) are “survivors” and “victims.”

       258.    In 2015, SPEAK applauded the University’s then-recent hiring of Title IX

coordinator Lauren Kozak for her activism on behalf of female complainants, noting that Kozak

“is doing much more education about the policy, consent, reporting options and how to file a

report,” and that “sexual assault is one of the most important and common problems affecting

college students.”

       259.    SPEAK’s Facebook pages described its activities in promoting “campus climate

activism” in support of “survivors” of sexual assault. Some of those events included the

participation of University administrators, including “University Psychologist Dr. Janet Boller

and Title IX Coordinator Lauren Kozak,” who were featured panelists on the topics of

“handling cases of sexual assault, and how incidents have changed over time.”

       260.    W&L’s Title IX personnel in John’s case were influenced, at least in part, by

institutional pressures to find John responsible as a male student accused of sexual assault,

including OCR’s long-running three-year investigation of W&L prompted by a female student’s

complaint against it, OCR’s 2011 Dear Colleague Letter with its explicit threat of loss of federal

funding, OCR’s 2014 Questions and Answers, and the White House’s sexual assault task force




                                   49
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 49 of 56 Pageid#: 49
with its emphasis on training investigators to support “survivors,” as well as a campus climate

which fostered the notion that sexual assault accusers are to be believed and supported based on

the accuser’s word.

       261.    Based on the foregoing intentional acts and omissions, John was subjected to a

gender biased, prejudicial, and explicitly unfair process in violation of Title IX.

       262.    W&L was on notice of, and was deliberately indifferent to, the serious flaws in

the investigation of Jane Roe’s complaint and the bias demonstrated by the investigators, the

Hearing Panel, and the Appeal Panel in favor of Jane and against John. W&L did nothing to

address or remedy the harm to John.

       263.    The University selectively enforced its Title IX policies by treating John as a

male student accused of sexual misconduct less favorably than it would treat a similarly situated

female student.

       264.    W&L’s conduct was so severe, pervasive, and objectively offensive that it

denied John equal access to education that Title IX is designed to protect.

       265.    This unlawful discrimination in violation of Title IX proximately caused John to

sustain substantial injury, damage, and loss, including without limitation, emotional distress,

psychological damages, loss of educational and career opportunities, reputational damages,

economic injuries and other direct and consequential damages.

       266.    As a result, John is entitled to injunctive relief, specific performance, and

damages in an amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements.




                                   50
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 50 of 56 Pageid#: 50
                                                  COUNT II
                 Retaliation in Violation of Title IX of the Education Amendments of 1972,
                                           20 U.S.C. § 1681 et seq.


          267.    John repeats and incorporates the foregoing allegations as if fully set forth

herein.

          268.    A federally-funded educational institution violates Title IX if it retaliates against

a student by taking adverse action against the student in response to the student’s exercise of a

protected right under Title IX.

          269.    As set forth in detail in Section V herein, W&L retaliated against John in

violation of Title IX by refusing to reinstate him as a student in good standing, in spite of John’s

fulfillment of W&L’s required suspension activities, once the University became aware that

John had retained an attorney nationally known for his Title IX work to assert John’s rights

under Title IX.

          270.    This unlawful retaliation in violation of Title IX proximately caused John to

sustain substantial injury, damage, and loss, including without limitation, emotional distress,

psychological damages, loss of educational and career opportunities, reputational damages,

economic injuries and other direct and consequential damages.

          271.    As a result, John is entitled to injunctive relief, specific performance, and

damages in an amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements.

                                                  COUNT III
                                           Breach of Implied Contract

          272.    John repeats and incorporates the foregoing allegations as if fully set forth

herein.

          273.    John paid the University sums of money for his education, and in return, the


                                   51
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 51 of 56 Pageid#: 51
University was to provide John with access to its undergraduate degree program.

        274.    John’s enrollment in, and attendance of, classes at W&L created in John an

expectation that he would be allowed to continue his course of study until he earned his degree

from the University, provided that he maintained satisfactory grades and complied with

University rules and polices.

        275.    Accordingly, an implied contractual relationship exists between John and the

University, under which each party owes the other certain duties.

        276.    Under the implied contract between John and W&L, W&L had a duty not to

suspend John for disciplinary misconduct arbitrarily, capriciously, maliciously, discriminatorily,

or otherwise in bad faith.

        277.    The University breached these contractual obligations by suspending John for

sexual misconduct through an investigative and adjudicative process that in the ways, and for

the reasons, set forth above were arbitrary, capricious, malicious, discriminatory, and conducted

in bad faith.

        278.    The University has compounded its arbitrary and capricious conduct by

punishing John far beyond the one-term suspension that the Hearing Panel imposed.

        279.    In the nearly two years since the Hearing Panel sanctioned John, spanning six

academic terms, W&L has refused to reinstate him as a student in good standing, even though

John fulfilled all the requirements that the University initially set forth for his reinstatement in

three separate documents, including the Hearing Panel’s sanction form, the May 31, 2017 Evans

letter, and the reinstatement application. These documents constituted contracts or implied

contracts between John and W&L.

        280.    In fulfillment of these contractual (or implied contractual) requirements, John




                                   52
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 52 of 56 Pageid#: 52
participated in substance and sexual abuse counseling, provided the University with an

evaluation in support of his reinstatement from his treating psychologist, a Ph.D. trained

professional with over 30 years of experience and practice in the areas of substance abuse and

relationship issues, and engaged in constructive activities with volunteer organizations and

through sustained, gainful employment.

       281.    W&L has denied reinstatement for the past two years, continually adding new,

previously undisclosed “requirements” to justify its denials.

       282.    As a result of W&L’s wrongful conduct in the disciplinary proceeding and the

unconscionably prolonged reinstatement period, John, though innocent of any wrongdoing, has

lost his reputation, his ability to complete his undergraduate degree, his post-graduate

opportunities, and his employment and career prospects.

       283.    As a direct and proximate result of this breach, an erroneous finding that John

committed sexual assault has been made part of John’s educational record, which may be

released to educational institutions and prospective employers to whom John applies,

substantially limiting his ability to gain acceptance to transfer schools to complete his

undergraduate education, to graduate school, or to secure future employment.

       284.    As a direct and proximate result of the above conduct, John has sustained

damages, including without limitation, emotional distress, loss of educational and career

opportunities, economic injuries and other direct and consequential damages. John’s interest in

the results of the disciplinary process are significant.

       285.    As a result of the foregoing, John is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

disbursements as a result of W&L’s breach of an implied contract in the process of




                                   53
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 53 of 56 Pageid#: 53
investigating and adjudicating Jane Roe’s sexual misconduct complaint against John, and in

subjecting John to an unfair and unconscionably prolonged reinstatement process.

                                             COUNT IV
                                             Negligence

          286.   John repeats and incorporates the foregoing allegations as if fully set forth

herein.

          287.   In order to state a negligence claim under Virginia law, a plaintiff must show

that the defendant owed the plaintiff a duty; that the defendant breached such a duty; and a

showing that the breach was the proximate cause of the injury.

          288.   Plaintiff must establish each element, including the presence of a duty arising

under Virginia tort law.

          289.   Here, W&L formed a university-student relationship with John and had a duty to

him to conduct the disciplinary process with due care, to perform an investigation free from bias

or conflicts of interest, to have proper training in investigating and evaluating the alleged

conduct under W&L’s policies, and to ensuring a fair and impartial hearing.

          290.   The foregoing duties were breached when John was subjected to a biased and

prejudicial disciplinary process, to his severe detriment.

          291.   John’s injury was caused by W&L’s breach of its duties owed to him as a

student of the University. He suffered immeasurable harm in the form of delayed or

permanently impaired educational opportunities, lost or postponed career opportunities and

wages, emotional and psychological damage, and reputational harm.

          292.   As a direct and proximate result of the above conduct, John has sustained

damages, including without limitation, emotional distress, loss of educational and career

opportunities, economic injuries and other direct and consequential damages. John’s interests



                                   54
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 54 of 56 Pageid#: 54
in the results of the disciplinary process are significant.

           293.     As a result of the foregoing, John is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

disbursements as a result of W&L’s negligence in the process of investigating and adjudicating

Jane Roe’s sexual misconduct complaint against him.

                                         PRAYER FOR RELIEF

           WHEREFORE, for the foregoing reasons, John demands judgment against W&L as

follows:

     (i)          on the first cause of action for discrimination in violation of Title IX, a judgment
                  against W&L awarding John damages in an amount to be determined at trial,
                  including without limitation, damages to physical well-being, emotional and
                  psychological damages, damages to reputation, past and future economic losses, loss
                  of educational opportunities, and loss of future career prospects, plus punitive
                  damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements;
                  and an injunction against W&L ordering W&L to expunge John’s educational and
                  disciplinary record of any notation regarding the finding and sanction, requiring
                  W&L to destroy all records concerning the disciplinary proceeding; and reinstating
                  John to the University as a student in good standing to complete his undergraduate
                  degree;

     (ii)         on the second cause of action for retaliation in violation of Title IX, a judgment
                  against W&L awarding John damages in an amount to be determined at trial,
                  including without limitation, damages to physical well-being, emotional and
                  psychological damages, damages to reputation, past and future economic losses, loss
                  of educational opportunities, and loss of future career prospects, plus punitive
                  damages, prejudgment interest, attorneys’ fees, expenses, costs and disbursements;
                  and an injunction against W&L ordering W&L to expunge John’s educational and
                  disciplinary record of any notation regarding the finding and sanction, requiring
                  W&L to destroy all records concerning the disciplinary proceeding; and reinstating
                  John to the University as a student in good standing to complete his undergraduate
                  degree;

     (iii)        on the third cause of action for breach of an implied contract, a judgment awarding
                  John damages in an amount to be determined at trial, including without limitation,
                  damages to physical well-being, emotional and psychological damages, damages to
                  reputation, past and future economic losses, loss of educational opportunities, and
                  loss of future career prospects, exemplary damages, plus prejudgment interest,
                  attorneys’ fees, expenses, costs and disbursements;



                                   55
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 55 of 56 Pageid#: 55
    (iv)    on the fourth cause of action for negligence, a judgment awarding John damages in
            an amount to be determined at trial, including without limitation, damages to
            physical well-being, emotional and psychological damages, damages to reputation,
            past and future economic losses, loss of educational opportunities, and loss of future
            career prospects, exemplary damages, plus prejudgment interest, attorneys’ fees,
            expenses, costs and disbursements.


                                      JURY DEMAND

       Plaintiff John Doe demands a trial by jury of all issues presented herein that are capable

of being tried by a jury.

Dated: April 23, 2019
                                                            Respectfully submitted,


                                                            By:
                                                            s/ David G. Harrison
                                                            David George Harrison
                                                            (VSB #17590)
                                                            THE HARRISON FIRM, PC
                                                            5305 Medmont Circle SW
                                                            Roanoke, VA 24018
                                                            Phone: (540) 777-7100
                                                            Fax: (540) 777-7101
                                                            Email: david@harrisonfirm.us

                                                                          and

                                                            Patricia M. Hamill
                                                            (Pa. I.D. No. 48416)
                                                            phamill@conradobrien.com
                                                            (pro hac vice application pending)
                                                            CONRAD O’BRIEN PC
                                                            1500 Market Street, Centre Square
                                                            West Tower, Suite 3900
                                                            Philadelphia, PA 19102
                                                            Phone: (215) 864-9600
                                                            Fax: (215) 864-9620




                                   56
 Case 6:19-cv-00023-NKM Document 1 Filed 04/23/19 Page 56 of 56 Pageid#: 56
